                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                            DOCKET NO. 3:13-cr-00335-MOC

UNITED STATES OF AMERICA,                      )
                                               )
                                               )
                                               )
Vs.                                            )                        ORDER
                                               )
DAWN WRIGHT OLIVARES; AND                      )
DANIEL C. OLIVARES,                            )
                                               )
                Defendants.                    )



       THIS MATTER is before the court on the Memorandum and Recommendation as to

Victim Notice Procedures (#30) in this matter, submitted by a Special Master. No objections to

such recommendation have been filed and after independent review, the court concurs in the

recommendation as it is consistent with law and fully supported by the facts of this case and

determines that these procedures for victim notification, in light of the impracticable nature of

individual notice, will give effect to 18 U.S.C. § 3771 without unduly complicating or

prolonging the proceedings in this matter.

                                             ORDER

       IT IS, THEREFORE, ORDERED that the Memorandum and Recommendation as to

Victim Notice Procedures (#30) is ACCEPTED, and the Government is authorized to comply

with 18 U.S.C. 3771(a)(2) by giving notice to potential victims in this case by:

       1.      Publishing information about this case, the rights afforded to victims under 18




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               U.S.C. § 3771(a), and notice of public court proceedings, to be updated within a

               reasonable period of any new proceeding being scheduled, on the Department of

               Justice’s website, located at http://www.usdoj.gov/criminal/vns/; and

      2.       Giving written notice to the Court-appointed receiver in the SEC action, who has

               agreed   to   include   on   the   receivership’s   website,   www.zeekrewards-

               receivership.com, the same information that the Department of Justice posts on its

               website regarding this matter.



Signed: June 5, 2014




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